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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION


MARY McCLOSKEY, et al.,                        Civil Action No. 3:16-cv-00549-L
                                               (Consolidated with Civil Action No.
            Plaintiff,                         3:16-cv-00668-L)

      v.                                       JURY TRIAL DEMANDED

MATCH GROUP, INC., et al.,

            Defendants.


           SECOND AMENDED CONSOLIDATED CLASS ACTION
      COMPLAINT FOR VIOLATIONS OF THE FEDERAL SECURITIES LAWS
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       Lead Plaintiffs Mary McCloskey and Craig Kneller (collectively, “Plaintiffs”), by and

through their undersigned attorneys, allege the following upon personal knowledge as to

themselves and their own acts, and upon information and belief as to all other matters. Plaintiffs’

information and belief is based on, among other things, the independent investigation of court-

appointed Lead Counsel Glancy Prongay & Murray LLP and Bragar Eagel & Squire P.C. This

investigation included, among other things, a review and analysis of: (i) Match Group, Inc.

(“Match Group” or the “Company”)’s public filings with the Securities and Exchange Commission

(“SEC”); (ii) public reports and news articles; (iii) research reports by securities and financial

analysts; (iv) economic analyses of securities movement and pricing data; (v) transcripts of Match

Group’s investor calls; (vi) interviews with former employees and other potential witnesses with

relevant information; and (vii) other publicly available material and data identified herein. Lead

Counsel’s investigation into the factual allegations contained herein is continuing, and many of

the facts supporting the allegations contained herein are known only to the Defendants or are

exclusively within their custody or control. Plaintiffs believe that further substantial evidentiary

support will exist for the allegations contained herein after a reasonable opportunity for discovery.

I.     INTRODUCTION AND NATURE OF THE ACTION

       1.      Plaintiffs bring this action under Sections 11 and 15 of the Securities Act of 1933

(the “Securities Act”), on behalf of themselves and all other persons or entities who purchased or

acquired Match Group securities pursuant or traceable to the Company’s Registration Statement

and Prospectus issued in connection with the Company’s Initial Public Offering (the “IPO”), which

commenced on November 19, 2015.

       2.      Historically, Match Group focused on internet dating. In 2014, it purchased The

Princeton Review (“TPR”) to expand its educational business. Prior to the transaction with Match

Group, TPR focused on in-person test preparation services sold to large institutions. Match Group


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quickly moved to transition TPR into a more app-based model similar to its dating products. The

process did not go smoothly. Rather than focus on large institutional clients such as school

districts, Match Group almost immediately attempted to transition TPR to individual student-based

online test preparation services.

       3.      TPR’s old model locked in substantial income for years at a time. The new model

imposed by Match Group required TPR to be constantly selling its product to many more

customers for much lower revenue per sale. The change of focus had added negative impact to

the Company because it was coupled with a new online, rather than in-person, test preparation

product. To pursue the new strategy and product, Match Group essentially removed TPR’s sales

staff after the acquisition. Unsurprisingly, TPR struggled following Match Group’s acquisition

and leading up to Match Group’s November 2015 IPO, and none of these struggles were disclosed

by the Company or its officers until several months after the IPO.

       4.      Another strike against TPR in the lead up to the IPO was a change in the SAT and

the College Board’s offering of free test preparation services. On March 5, 2014, the College

Board announced it was completely reimagining the SAT, making a large swath of TPR’s products

obsolete. Further harming TPR, the College Board announced it was partnering with one of TPR’s

main competitors, Khan Academy, to offer free test preparation services to students. Not only

would the College Board-affiliated services be cheaper than TPR’s, they would also be superior

since they were affiliated with the test makers themselves.

       5.      Despite all these events that were likely to harm and currently harming TPR in the

run up to the IPO, Match Group publicly stated in the IPO’s Registration Statement (as defined

herein) that it expected increased sales from TPR in the second half of 2015.




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       6.      The Registration Statement also failed to mention or account for the fact that a large

institutional tutoring contract with the U.S. Government had been delayed by nearly three months

just prior to the IPO. The contract was delayed prior to the IPO, yet the Defendants failed to

disclose it until after completion of the IPO.

       7.      The Defendants knew prior to the IPO that sales were decreasing, yet omitted that

fact and even stated the opposite in the Registration Statement. Further, at the time of the IPO, the

Company only disclosed risks related to its dating business and fully ignored risks to the Non-

dating (educational) segment. By these actions and omissions, the Defendants have violated

Sections 11 and 15 of the Securities Act as set forth herein.

II.    PARTIES

       8.      Lead Plaintiff Mary McCloskey purchased Match Group securities pursuant or

traceable to the Company’s Registration Statement issued in connection with the Company’s IPO

and was damaged thereby, as described in the Certification previously filed on April 26, 2016, and

incorporated herein (ECF No. 11, Ex. B).

       9.      Lead Plaintiff Craig Kneller purchased Match Group securities pursuant or

traceable to the Company’s Registration Statement issued in connection with the Company’s IPO

and was damaged thereby, as described in the Certification previously filed on April 26, 2016, and

incorporated herein (ECF No. 11, Ex. B).

       10.     Defendant Match Group is a Delaware corporation with its principal executive

offices located at 8300 Douglas Avenue, Dallas, Texas 75225. The Company’s shares trade on

the NASDAQ Global Select Market (“NASDAQ”) under the symbol “MTCH.”

       11.     Defendant Gregory R. Blatt (“Blatt”) was, at all relevant times, the Chief Executive

Officer (“CEO”) of Match Group and the Chairman of its Board of Directors (the “Board”). Prior

to serving as CEO and Chairman, Blatt served as CEO and a member of the Board of Match


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Group’s former parent company, IAC/InterActiveCorp (“IAC”). Blatt signed or authorized the

signing of the false and misleading Registration Statement.

       12.     Defendant Gary Swidler (“Swidler”) was, at all relevant times, the Chief Financial

Officer (“CFO”) of Match Group. Swidler signed or authorized the signing of the false and

misleading Registration Statement.

       13.     Defendant Michael H. Schwerdtman (“Schwerdtman “) was, at all relevant times,

the Vice President (“VP”) and Chief Accounting Officer (“CAO”) of Match Group. Schwerdtman

signed or authorized the signing of the false and misleading Registration Statement.

       14.     Defendant Gregg J. Winiarski (“Winiarski”) was, at all relevant times, a director of

Match Group. While serving as a director of Match Group, Winiarski was also the Executive Vice

President, Secretary, and General Counsel of Match Group’s former parent company, IAC.

Winiarski signed or authorized the signing of the false and misleading Registration Statement.

       15.     Defendant Joseph M. Levin (“Levin”) was, at all relevant times, a director of Match

Group. While serving as a director of Match Group, Levin was also the CEO of Match Group’s

former parent company, IAC. Levin signed or authorized the signing of the false and misleading

Registration Statement.

       16.     Each of the defendants listed in ¶¶ 11-15 are collectively referred to herein as the

“Individual Defendants.” Each of the Individual Defendants either signed or authorized the

signing of the defective Registration Statement and, as such, is liable under the Securities Act.

       17.     Collectively, Match Group and the Individual Defendants are sometimes referred

to herein as the “Match Group Defendants.”

       18.     Defendant J.P. Morgan Securities LLC (“J.P. Morgan”) served as an underwriter to

Match Group in connection with the Offering.




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       19.    Defendant Allen & Company LLC (“Allen & Company”) served as an underwriter

to Match Group in connection with the Offering.

       20.    Defendant Merrill Lynch, Pierce, Fenner & Smith Inc. (“Merrill Lynch”) served as

an underwriter to Match Group in connection with the Offering.

       21.    Defendant Deutsche Bank Securities Inc. (“Deutsche Bank”) served as an

underwriter to Match Group in connection with the Offering.

       22.    Defendant BMO Capital Markets Corp. (“BMO Capital”) served as an underwriter

to Match Group in connection with the Offering.

       23.    Defendant Barclays Capital Inc. (“Barclays Capital”) served as an underwriter to

Match Group in connection with the Offering.

       24.    Defendant BNP Paribas Securities Corp. (“BNP Paribas”) served as an underwriter

to Match Group in connection with the Offering.

       25.    Defendant PNC Capital Markets LLC (“PNC Capital”) served as an underwriter to

Match Group in connection with the Offering.

       26.    Defendant Cowen & Company, LLC (“Cowen & Company”) served as an

underwriter to Match Group in connection with the Offering.

       27.    Defendant SG Americas Securities, LLC (“SG Americas”) served as an underwriter

to Match Group in connection with the Offering.

       28.    Defendant Fifth Third Securities, Inc. (“Fifth Third”) served as an underwriter to

Match Group in connection with the Offering.

       29.    Defendant Oppenheimer & Co. Inc. (“Oppenheimer”) served as an underwriter to

Match Group in connection with the Offering.




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       30.     Each of the defendants listed in ¶¶ 18-29 are collectively referred to herein as the

“Underwriter Defendants.”

       31.     Collectively, Match Group, the Individual Defendants, and the Underwriter

Defendants are referred to herein as “Defendants.”

III.   JURISDICTION AND VENUE

       32.     The claims asserted herein arise under Sections 11 and 15 of the Securities Act (15

U.S.C. § 77k and § 77o, respectively).

       33.     This Court has jurisdiction over the subject matter of this action pursuant to Section

22 of the Securities Act (15 U.S.C. § 77v) and 28 U.S.C. § 1331.

       34.     Venue is proper in this Judicial District pursuant to Section 22 of the Securities Act

(15 U.S.C. § 77v) and 28 U.S.C. § 1391(b). Substantial acts in furtherance of the alleged fraud or

the effects of the fraud occurred in this Judicial District. One or more Defendants maintain offices

or conduct business within this Judicial District. Additionally, at all times relevant hereto, Match

Group’s stock traded on the NASDAQ.

       35.     In connection with the acts, transactions, and conduct alleged herein, Defendants

directly and indirectly used the means and instrumentalities of interstate commerce, including the

United States mail, interstate telephone communications, and the facilities of a national securities

exchange.

IV.    RELEVANT BACKGROUND

       A.      Confidential Witnesses

       36.     Plaintiffs’ allegations are further supported by confidential witnesses (“CWs”),

each of whom was employed by Match Group prior to Match Group’s November 19, 2015 IPO.

       37.     CW1 was employed by TPR from June 2010 through July 2015. CW1 served as

an Account Manager for TPR’s College Readiness Program starting in June 2010 until CW1 was


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later promoted to National Director of TPR’s College Readiness Program in September 2013,

which position CW1 held until July 2015. According to CW1, the College Readiness Program

was a program geared to offer public school students with free test-prep programs for the SAT and

ACT standardized exams. In both positions, CW1 reported to VP of Institutional Sales, Joe

Guerra.

        38.    CW2 was employed by TPR as an Operations Manager for the Newton,

Massachusetts, field office – which oversaw TPR’s sales activities throughout most of New

England – from October 2015 to February 2016.

        39.    CW3 was employed by TPR as an Executive Director of a TPR field office from

January 2012 to August 2015. CW3 later served as TPR’s Regional Executive Director of Process

and Standards Implementation from September 2015 to April 2016, and Director of Training from

May 2016 to September 2016.

        40.    CW4 was employed at TPR in various positions from June 2007 to August 2015,

and served as TPR’s National Director of School Based Programs from January 2012 to August

2015.

        41.    CW5 was an Institutional Account Manager at TPR’s Washington D.C. field office

from May 2014 to March 2016, and was primarily responsible for setting up classes, staffing

classes, assisting students, and dealing with customer service issues.

        42.    CW6 was a Sales Manager – Outreach and Educational Partnerships in the Encino,

California office from mid-2014 through October 2015 and reported to the Executive Director.

CW6 held other positions at TPR since November 2009.




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       B.      Match Group’s Creation And Acquisition of TPR

               1.      Match Group is Created, Consisting of Dating and Educational (i.e.
                       Non-Dating) Segments

       43.     IAC is a media and Internet company that was founded in 1986 as Silver King

Broadcasting Company. IAC changed its name to IAC/Interactive Corp in July 2004 after a series

of acquisitions and divestitures.

       44.     Match.com, which according to Match Group is the largest dating site in the world,

was launched in 1995. Following the launch of Match.com, IAC launched or acquired a number

of other dating websites and mobile apps, with its platform of dating products now including,

among others, OkCupid, Tinder, PlentyOfFish, Meetic, and OurTime.

       45.     On January 7, 2013, IAC announced that it had acquired online tutoring firm

Tutor.com, which, at the time, boasted a network of over 2,500 tutors that provided on-demand

one-on-one teaching sessions. Although Tutor.com traditionally focused on core K-12 subjects,

prior to its acquisition by IAC, Tutor.com had expanded into Advanced Placement, or AP, courses,

college-level curriculum, and real-time writing help. Tutor.com’s personalized learning programs

were offered by direct consumer subscription and through partnerships with public and academic

libraries, school districts, the United States military, and colleges.

       46.     On December 19, 2013, IAC announced the creation of Match Group – a wholly-

owned subsidiary of IAC, which included, inter alia, the Match online dating business and

Tutor.com, the educational, or Non-dating segment.

       47.     Match Group is perhaps best known for its dating-related business platforms.

Overall, Match Group operates a portfolio of approximately 45 dating products. Dating revenue

consists primarily of recurring membership fees and advertising on its dating applications and

websites.



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        48.    As part of the reorganization, Defendant Blatt stepped down from his position as

 CEO of IAC and became the CEO and Chairman of Match Group.

        49.    On July 28, 2014, Match Group announced an agreement to acquire TPR from

 Charlesbank Capital Partners. The acquisition of TPR was completed on August 1, 2014.

 Thereafter, TPR subsumed Tutor.com, with both operating under The Princeton Review brand,

 and the combined TPR businesses continued to operate as part of IAC’s Match Group subsidiary.

 According to a press release regarding Tutor.com published by Match Group on July 29, 2014,

 “[s]ervices of the combined company are expected to be offered to consumers primarily under The

 Princeton Review brand with Tutor.com used for certain institutional clients.”

        50.    Mandy Ginsberg (“Ginsberg”) served as CEO of TPR from August 2014 through

 the November 2015 IPO, before being promoted to CEO of Match Group North America in

 December 2015.

        51.    Following Ginsberg’s promotion, Kate Walker (“Walker”), who had previously

 served as Senior Vice President (“SVP”) of Strategy and Corporate Development at Tutor.com

 since February 2014 and as the CFO of TPR since September 2014, assumed Ginsberg’s role as

 CEO of TPR in January 2016.

        52.    When Match Group was preparing to go public in 2015, the IPO Registration

 Statement filed on Form S-1 with the SEC on October 16, 2015 stated:

        In addition to our dating business, we also operate a non-dating business in the
        education industry through our ownership of The Princeton Review. The Princeton
        Review provides a variety of test preparation, academic tutoring and college
        counseling services. We acquired this business because it relies on many of the
        same competencies as our dating business, such as paid customer acquisition, a
        combination of free and paid features, deep understanding of the lifetime values of
        customers, and strong expertise in user interface development. Substantially all of
        our revenue from our non-dating business, or non-dating revenue, is derived
        directly from our students.

        53.    Match Group further explained its acquisition strategy:


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        [W]e purchased Tutor.com and then The Princeton Review in 2012 and 2014,
        respectively. Successful operation of these businesses depends in substantial part
        on a common set of competencies with our dating business, and we believe we can
        expand the portfolio of assets over which we can leverage our competencies beyond
        dating. It is possible that we may acquire other non-dating assets if they meet the
        relevant criteria and provide the right value creation opportunity.

        54.     Thus, at the time of the TPR acquisition, Match Group intended the TPR acquisition

 to be an attempt by Match Group to move its online business model from the online dating

 business, to online test preparation and, if successful, to other businesses. For that reason, the

 performance of Match Group’s test preparation business was material to Match Group investors.

                2.     Match Group’s Non-Dating Business Segment: TPR

        55.     Match Group has two reportable segments: (1) Dating, which consists of all of the

 Company’s dating businesses globally and (2) Non-dating, which consists of the test preparation

 business, namely, TPR.

        56.     According to the IPO Registration Statement (defined herein at ¶ 104 n.2, infra),

 Match Group “operate[s] a non-dating business in the education industry through [its] ownership

 of The Princeton Review. The Princeton Review provides a variety of test preparation, academic

 tutoring and college counseling services.” In the IPO Registration Statement, Match Group also

 reported that “The Princeton Review includes Tutor.com (acquired in 2012) and The Princeton

 Review (acquired in 2014).” Registration Statement, at 109.

        57.     TPR generates approximately 10% of the Company’s revenue. According to Match

 Group, this Non-dating revenue consists primarily of fees received for in-person and online test

 preparation classes, access to online test preparation materials and individual tutoring services.

 Registration Statement, at 68.

        58.     TPR is perhaps best known for its test preparation materials for K-12 standardized

 exams, and college and graduate-level admissions tests, including the SAT, PSAT, ACT, GRE,



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 GMAT, LSAT, MCAT, and AP exams. According to a J.P. Morgan report published on December

 14, 2015, the cost of SAT preparation offered by TPR to individual students can range from $599-

 $699 for 15 hours of preparation in a class of approximately 12 students, or $3,240-$8,400 for 24

 hours of private test preparation.

          59.   In addition to its test preparation services, TPR also offers tutoring and college

 admission services.

          60.   TPR’s tutoring and homework help programs are offered to consumers and

 institutions, including the United States military, school districts, colleges, and public libraries,

 through Tutor.com. According to the same December 14, 2015 J.P. Morgan report, TPR’s online

 tutoring services range in price from $39.99 for one hour per month to $339.99 for ten hours per

 month.

          61.   As part of TPR’s college admission counseling services, it selects 15 or more

 colleges it views as the best fit for the potential student and creates a personalized application

 strategy/plan. As of December 2015, TPR charged $1,700 for its college admission counseling

 program.

          62.   Finally, in addition to the online and offline test preparation services offered to

 individual students, students can purchase print and/or digital test preparation books. As of August

 2014, TPR owned or controlled the rights to more than 150 print and digital books. Through third

 parties such as Amazon, Barnes & Noble, or Random House, a student can purchase an SAT test

 preparation e-book for approximately $13.99, or a paperback book for approximately $18.99. TPR

 also offers books specific to certain subjects on the SAT, as well as books of SAT practice exams.




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        C.      Unbeknownst To Investors, Non-Dating Sales Decline In The Second Half Of
                2015

                1.      Match Group Transitions TPR’s Focus from Large Institutional
                        Contracts and Long-Term Revenue Growth to Direct-to-Student Sales
                        and Margin Expansion

        63.     Historically, TPR primarily offered its test preparation and college admissions

 services to students through large, institutional contracts. For example, as part of its College

 Readiness Program, TPR contracted with school districts to provide in-person training to teachers,

 who then provided in-classroom preparation and tutoring services to students for AP testing and

 standardized college entrance exams.

        64.     Following the acquisition of TPR in 2014 and prior to the November 2015 IPO,

 Match Group began to transition the focus of TPR from large multiyear contracts with institutional

 clients (i.e., low volume, high price) to pay-as-you go packages and online sales to individual

 students (i.e., high volume, low price).

        65.     Former TPR employees confirm this shifting focus. CW1, for example, reported

 that certain of TPR’s institutional contracts with school districts in Texas were worth $1 million

 or more per year. According to CW1, in El Paso, Texas alone, approximately three school districts

 had $3 to $4 million of contracts with TPR in 2014. As reported by CW1, school district contracts

 were typically paid each October.

        66.     After the acquisition of TPR by Match Group in 2014, CW1 reported that the focus

 on multiyear contracts and long-term revenue began to change. For example, according to CW1,

 the CEO of TPR during the relevant time period, Ginsberg, disliked TPR’s reliance on multiyear

 contracts with school districts because there was a risk of losing them and it would be difficult to

 make up for the loss of a million dollar contract. According to CW1, Ginsberg indicated that it




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 was better for TPR to focus on individuals, i.e., students “who are always coming in and out of the

 door.”

          67.   For example, according to CW1, at least as early as July 2015, Ginsberg told an

 account manager working under CW1’s direction that the Company was no longer interested in

 securing multiyear contracts with school districts, and that the Company wanted the sales team

 focused on sales to individual students instead.

          68.   Moreover, according to CW1, by July 2015, TPR had laid off much of its sales staff

 who had worked on TPR’s core College Readiness Program, as well as nearly all of its employees

 in key leadership positions (including TPR’s VP of Institutional Sales, Joe Guerra), and replaced

 TPR management and executive positions with individuals from Tutor.com. CW1 reported that

 the only high-ranking TPR employee who CW1 recalls remained after these management changes

 was TPR’s SVP of Human Resources, Michelle Bergland.

          69.   In addition to shifting its focus from institutional clients to individual students, TPR

 also shifted its focus from in-person training and in-classroom test-prep to online courses and

 webinars. In line with this shifting focus away from large institutional contracts, CW1 reported

 that the Company began restricting CW1’s ability to travel and market TPR’s College Readiness

 Program. Rather than in-person training sessions at public high schools, for example, CW1 was

 instructed to conduct webinars. CW1 reported that after Match Group acquired TPR, the Company

 moved these in-person training sessions to online webinars as part of their goal to “put as much as

 possible online.”

          70.   CW1 received directions to curtail travel and focus on webinars from CW1’s

 supervisor, Joe Guerra, who himself received instructions from Sandi White, the General Manager

 of Institutional Programs who was brought in after Match Group’s acquisition of TPR. CW1 felt




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 that the new leadership under Match Group was pushing TPR to become more of an online

 business with online courses and online customer service. CW1 explained:

           That’s what they do – Match.com is online, all of their companies are online. In
           their minds, that is the way to do it. The Princeton Review had a very different
           clientele and very different mindset. It was a big change. We needed online
           because there are some people who wanted online. But you also can’t replace live.

           71.    CW1 was concerned that schools operate differently than the business world and

 many were not technologically savvy enough to feel comfortable with webinars and that the push

 to an online business detracted from TPR’s previous culture as a face-to-face, in-person test-prep

 business. Moreover, between 2015 and 2016, CW1 reported that TPR lost its contracts with all

 three El Paso school districts, as well as a number of contracts with other school districts in Texas.

 Had these contracts been renewed, they would have been due for payment in October 2015.

           72.    CW4, who oversaw the development and implementation of TPR test preparation

 courses at schools across the country, also reported that, following the acquisition by Match Group,

 TPR shifted its focus to online courses, even for schools that continued to maintain large contracts

 with TPR. Specifically, CW4 explained that TPR was developing an online dashboard for web-

 based programs in schools and intended for training programs and services to primarily be offered

 online.

           73.    Similarly, CW3 reported that after Match Group acquired TPR, it began to

 consolidate classes with low student enrollment into online courses, rather than consolidating

 classes geographically to maintain in-person training. CW3 reported that the new consolidation

 policy frustrated many students who had signed up with TPR to receive in-person training, and

 resulted in students cancelling their purchase.

           74.    CW5 confirmed that TPR either cancelled or consolidated classes that had low

 student enrollment or did not meet the profit margin requirements that Match Group had



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 implemented after it acquired TPR in 2014. CW5 reported that the only replacement class for

 students was often online. Specifically, CW5 reported that 45 to 50% of students enrolled in

 classes that had been cancelled or consolidated classes were thereafter limited to switching to an

 online course, and of that group, only 60% opted to enroll in the online course. CW5 reported

 that, ultimately, fewer in-person classes were offered in 2015 than in years prior.

        75.     While “[t]he direction from above was to push the students from in-person courses

 into a live online,” CW5 reported that this often resulted in customer complaints. In CW5’s

 experience, students in the Washington D.C. area preferred “brick and mortar” classes to online

 classes, and TPR “found the level of satisfaction when switching from in person to online was not

 100% positive.” CW5 “kn[ew] that the level of satisfaction among customers tended to go down”

 and “[i]t impacted our ability to service [TPR’s] customers.” Due to this unhappiness, TPR was

 forced to offer incentives for students to enroll in or switch to online courses, which negatively

 impacted financial results.

        76.     Similarly, CW6 confirmed that after Match Group acquired TPR, the Company

 increased the minimum profit margin required to a run a test-prep course. Based on the formula

 that the Company developed, staff would cancel a class if there were not enough students enrolled

 to meet the minimum profit margin. Due to this higher profit margin requirement, more in person

 classes were cancelled in 2015 than in previous years. According to CW6, TPR’s sales “model”

 was to schedule several classes during a test-prep period, let students sign up, then consolidate the

 students into a smaller number of classes. He described this as, “Creating the need, then generating

 the demand.” Meaning, the Company purposely scheduled more classes than it knew would be

 run, then once students were committed to taking a course, consolidating them into fewer classes.

 CW6 confirmed that after the acquisition by Match Group, about 50 percent of students in




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 cancelled classes were only offered an online class as a replacement, and the Company often had

 to offer students a discount to retain them. CW6 stated that online classes were harder to sell

 because most students preferred a classroom setting with a teacher in person.

        77.     During the fourth quarter 2015 conference call on February 3, 2016, Defendant

 Blatt confirmed that Match Group’s focus for TPR had shifted to online business:

        I think we spent all of . . . 2015 sort of integrating the technology and we turned it
        on in Q4. Over 10% of our Princeton Review test prep customers bought one of
        our other two products. That is a huge jumpstart on this process. We think that
        through the combination of moving that business online overall and creating these
        packages where a parent turns to Princeton Review for all of the things necessary
        to maximize their kids’ chances to getting into college, we think we’ve got a very
        powerful business there.

 (emphasis added).

        78.     These changes were implemented to realize Match Group’s goal of emphasizing

 margin growth as opposed to long-term revenue growth. In the Company’s prepared remarks for

 the fourth quarter of 2015, published on February 2, 2016, Match Group explained:

        We continued to make solid improvement on EBITDA performance, however, and
        made significant strategic progress. As we’ve said before, the principal thesis for
        combining these educational businesses was that we believed we could offer
        multiple high-value products to parents desiring to maximize their children’s
        college admissions experience, and we spent most of 2015 integrating technologies
        and refining our product offering to be able to do that. Launching in earnest in Q4
        2015, we were able to sell either tutoring or college admissions services to over
        10% of our customers who also purchased one of our core test prep products, up
        from virtually zero previously. Successfully implementing this cross-sell would
        transform the economics of this business, and we think we are off to a great start,
        with much work yet to come. Also, Q4 2015 was the first quarter where we drove
        the majority of our services revenue online, and we expect that trend to continue,
        which over time should lead to margin expansion in the business. The Princeton
        Review should show continued strong progress in 2016, flipping from investment
        mode to bottom line contributor.

 (emphasis added).

        79.     During the fourth quarter 2015 earnings call held on February 3, 2016, Defendant

 Blatt further explained:


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        I think our strategy in [The Princeton Review] business is not a sort of near-term
        revenue-growth strategy, although we are expecting to grow revenue. We got a
        business that was $100 million plus and losing money and our play here is to really
        transform that business. And that transformation will lead to much higher margin
        characteristics and frankly, although this isn’t our plan, I would take an $80 million
        revenue business that makes $25 million EBITDA over the other way around.
        We’ve been focused very much on margin improvements.

 (emphasis added).

        80.     During the earnings call held on February 3, 2016, Defendant Blatt also stated:

        I think this year we are forecasting revenue growth. I think we’re much less
        focused on revenue growth this year than we are on these margin improvements
        and these – driving these other metrics. We’re still trying to sort out what revenue
        we want and what revenue we don’t want in this business and that will continue to
        evolve. Meaning we are not chasing all revenue because there’s higher-margin
        revenue and lower-margin revenue and we’re still trying to figure out where to
        put our cards here.

 (emphasis added).

        81.     Defendants reiterated these goals of transforming TPR’s business during the first

 and second quarter of 2016. During the first quarter 2016 earnings call held on May 4, 2016, for

 example, Defendant Blatt stated, “We are in transformation mode. What we are really focused on

 here is are we migrating this business online? Are we generating real cross-sell?”

        82.     Also, during the second quarter 2016 earnings call held on July 27, 2016, Defendant

 Swidler explained, “In terms of the non-dating [business], as we said we manage this business

 really for progress on its stated strategy and for positive EBITDA. We’re less focused on the

 revenue growth.” (emphasis added).

                2.     Changes to the SAT and the Announcement of Free SAT Test Prep
                       Services Further Dampen TPR’s Test Prep Sales

        83.     The SAT is a standardized test that is widely used for college admissions in the

 United States. The College Board – a private non-profit organization that owns and publishes the

 SAT – reported that a record 1.7 million students from the graduating class of 2015 took the SAT.



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 In comparison, the ACT exam was slightly more popular, with approximately 1.92 million students

 from the graduating class of 2015 taking it. TPR offers test preparation services and materials for

 both the SAT and ACT.

        84.     On March 5, 2014, the College Board announced its intention to “expand access to

 opportunity” and “redesign the SAT.” Major changes included: (i) testing relevant words in

 context, rather than obscure vocabulary; (ii) testing students’ ability to support reading and writing

 answers with evidence; (iii) testing students’ ability to analyze an evidentiary source; (iv) testing

 students’ ability to analyze data and texts in a real world context; (v) reducing the number of math

 sections to focus on certain key areas; (vi) incorporating a wide range of source documents into

 the reading comprehension section; (vii) including a “Founding Document” or “Great Global

 Conversation” document in every exam; and (viii) scoring based upon correct answers, rather than

 deducting points for incorrect answers. The latter change was likely particularly appealing to

 students given the onerous 0.25 point penalty for incorrect answers on the old SAT exam. Such a

 penalty had the effect of dissuading nervous students from guessing answers – thus, this change in

 particular was seen as a benefit which would attract a higher number of students to the new SAT

 test. The new SAT was administered for the first time in March 2016.

        85.     In addition to the above changes, as part of its initiative to “expand access to

 opportunity,” also on March 5, 2014, the College Board announced that it would “directly

 confront[] one of the greatest inequities around college entrance exams, namely the culture and

 practice of high-priced test preparation,” by partnering with the Khan Academy, a direct

 competitor of TPR, to “provide the world with free test preparation materials for the redesigned

 SAT.” These free test preparation materials included practice preliminary SAT (“PSAT”) exams,

 practice SAT exams, SAT math practice, SAT reading and writing practice, SAT tips and




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 strategies, video lessons, diagnostic quizzes, instant feedback, and other online examples and

 tutorials.

         86.    According to the College Board, the free test preparation materials provided by

 Khan Academy became available to students beginning with the 2015/2016 school year. The Khan

 Academy SAT study materials went live in June 2015, in time for students to use them in

 preparation for the SAT exam administered on October 3, 2015.

         87.    The Khan Academy materials have been an enormous success, with the College

 Board reporting in June 2016 that within one year of the free Khan Academy materials being

 offered, more than 1.4 million users had taken advantage of the free, interactive, and personalized

 materials, which represents “four times the total population of students who use all commercial

 test prep classes in a year combined.” Indeed, the College Board reported that “[a]lmost half of

 all SAT takers on March 5, [2016] used [Khan Academy] SAT Practice to prepare, causing a 19

 percent drop in the number of students who paid for SAT prep resources.”

         88.    Further, the resources that Khan Academy offers to students continue to grow, with

 the College Board announcing that in the second year of the Khan Academy there would be new

 features, such as additional practice tests, an opportunity to get help from subject-matter experts,

 live instruction sessions on Facebook Live, and new partnerships to help more students prepare

 for the SAT.

         89.    In addition to the fact that the Khan Academy’s test prep materials were offered

 free of charge to students, its prep courses also were created in partnership with the College Board.

 By sharp contrast, TPR independently developed its review materials based on its analysis of the

 tests. CW2 reported that throughout 2015 and into early 2016, TPR and other test preparation

 companies did not receive samples of the new SAT exam from The College Board. In fact, CW2




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 reported that TPR did not receive detailed information regarding the new SAT until close to March

 2016 when the revised SAT was administered. According to CW2, TPR could not effectively

 prepare students for the new SAT because TPR did not know enough about what was on it prior

 to March 2016. According to CW2, the College Board’s failure to distribute sample tests to TPR

 and other test prep companies aligned with historical practices. Accordingly, TPR was aware that

 it would not receive a sample of the new SAT until just weeks prior to the March 2016

 administration.

        90.     Due to TPR’s relative ignorance regarding the new SAT, CW2 reported that, during

 2015, TPR was unable to offer test preparation courses that were designed for the new SAT.

 Instead, CW2 estimated that of the ten SAT test prep courses offered by TPR in the fall of 2015,

 perhaps one was for students preparing for the new SAT. Yet, even this course provided only

 minimal information about the new SAT, and otherwise provided generalized test preparation

 strategies and samples of the old SAT. According to CW2, who was responsible for scheduling

 TPR’s test preparation courses, CW2 did not schedule any full test-prep courses for the new SAT

 until May 2016.

                3.     Defendants Publicly Plan For Increasing Non-Dating Sales While
                       Privately Acknowledging That They Were Decreasing

        91.     Despite the above-described changes to TPR’s focus (i.e., the shift away from

 lucrative yet long-term institutional sales), the changes to the SAT, which inhibited TPR’s ability

 to provide prep services in the fourth quarter of 2015, and the introduction of free test prep

 materials offered by TPR’s competitor, Khan Academy – all facts likely to depress TPR’s SAT

 prep sales in the latter part of 2015 – Match Group publicly claimed to expect an increase in TPR’s

 SAT prep sales and overall revenue in the second half of 2015 (i.e., during the time of the IPO).

 For example, when it was revealed on February 3, 2016 that the Company had missed revenue



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 targets due to disappointing Non-dating business performance, Defendant Blatt attempted to

 explain the failure as follows:

        [T]here was a big change in the SAT this year. It happens every 10 years or so.
        We made a prediction about how test takers would – we thought some would rush
        to take the old test, more of them sort of paused to take the new test than we
        expected. Cost us revenue, doesn’t really cost us on the bottom line.

        92.     Match Group’s assumption regarding an increase in sales despite the risks posed

 by the changes to the SAT and the Khan Academy was false given that the Company knew, prior

 to its November 19, 2015 IPO, that sales were decreasing. According to CW2, Ginsberg and other

 TPR senior executives held a mandatory companywide meeting via video conference in November

 2015, prior to the IPO. CW2 recalls that the meeting was held prior to the IPO because Ginsberg

 announced during the meeting that employees would be able to purchase Match Group stock in

 the IPO at a discounted price.

        93.     At this meeting, Ginsberg discussed the fact that TPR was not on track to hit its

 projected sales numbers, and announced cuts in spending in response. CW2 also confirmed that,

 by November 2015, it was clear to the Massachusetts field office – which is the second largest

 producing office at TPR – that contrary to the Company’s projections, students were not rushing

 to take the old SAT. In fact, CW2 reported that the Massachusetts field office saw “a significant

 drop in sales” in the last quarter of 2015 and was at least $2 million off of their projected sales

 figures in the fourth quarter of 2015. Given comments in the Company’s salesforce.com forum,

 CW2 believed that this trend was common at TPR offices throughout the country.

        94.     CW3 confirms that this trend was, indeed, common at TPR offices throughout the

 country. As the Executive Director of a TPR field office, CW3 received a monthly sales report,

 generated by corporate headquarters, that showed revenue for different types of test preparation

 classes, including the SAT, for all TPR field offices. CW3 explained that, according to these sales



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 reports, sales at TPR were decreasing nationwide throughout 2015 and were “[e]xtremely

 under . . . for year-to-year” and “overall[] sales were down for year over year” in 2015. CW3

 reported that executive directors, such as CW3, discussed these sales reports with their respective

 Regional Vice Presidents.

        95.     This decrease in sales did not come as a surprise to CW3 who explained that,

 contrary to Defendants’ expectation that students would “rush” to take the new SAT, high school

 freshman or sophomores were unlikely to take the SAT early, and more likely to wait to take the

 SAT at an appropriate stage in their high school educations, regardless of whether it was the new

 or old version of the test. For this reason, CW3 explained that: “Senior leadership . . . thought we

 would be able to pull sales forward for the SAT like we did with the MCAT. . . . But you can’t

 pull sales forward for the high school level like you can on the grad school level.”

        96.     Like other field offices across the country, CW5 recalled that the Washington D.C.

 field office was continually “in the red” in terms of profitability due to decreased sales for test

 preparation classes. Specifically, CW5 reported that sales for SAT test preparation classes were

 down from 2014, at a time when upper management at Match Group were claiming that they

 expected sales to increase. Indeed, CW5 reports that: “I definitely remember that messaging[,]”

 and “[t]hey were ignoring the numbers, ignoring the trends.” CW5 also reported seeing data for

 regional sales numbers, which, like the Washington D.C. field office, showed decreased sales for

 places such as Philadelphia and North Carolina.

        97.     CW6 noted that there was no significant increase in sales for college test prep

 courses in general during 2015. CW6 also pointed out that there was no new advertising,

 marketing strategies, or a sales staff hiring push from TPR to that would have helped to increase

 sales during this time. As CW6 put it, “There wasn’t any new marketing to make that [increase]




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 happen. They didn’t change the marketing on TV. . . . There wasn’t anything new that I saw.

 Even when Tutor.com took hold that created an online presence but that wasn’t anything to drive

 the business and build the new brand.” In addition, CW6 recalled that in the last few months of

 CW6’s employment in 2015, the Company began making budget cuts. For example, the Company

 cut back on mileage allowances for teachers, making it more difficult to find teaches to staff in-

 person classes. In addition, the Company stopped providing free presentations, such as a free

 practice test TPR previously offered, and in 2015 began charging $5 per test.

        98.     The introduction of free SAT prep materials offered by the Khan Academy and the

 changes to the SAT presented significant risks to Match Group’s Non-dating business segment,

 which had struggled to turn a profit. Yet, Match Group failed to warn investors of these risks

 anywhere in the Offering Materials. Indeed, as discussed further at ¶¶ 90-92, infra, the Offering

 Materials are virtually silent on risks faced by the Company’s non-dating business segment.

        D.      Fourth Quarter 2015 Also Sees A Large Government Contract Delayed

        99.     Further complicating Match Group’s success story for TPR, and an additional

 material omission from the Offering Materials, was the delayed execution of a large institutional

 tutoring contract with the U.S. Government in the fourth quarter of 2015.

        100.    As later admitted by Defendant Blatt during a February 3, 2016 conference call

 discussing the Company’s 2015 fourth quarter financial performance, in additional to declining

 SAT test prep sales: “We were signing a contract with the US government and it signed 2-1/2

 months later than we thought. That cost us a couple million dollars of revenue, just moved it back,

 and at the time we expected to get it done earlier and it didn’t.”

        101.    On the evening before the February 3, 2016 conference call, Match Group

 published prepared remarks which similarly explained that Non-dating revenue fell short of




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 expectations due, in part, to “the execution of an institutional contract later in Q4 than expected.”

 (emphasis added).

        102.    Since the contract was executed two and a half months later than expected, but still

 signed “later in Q4 [2015] than expected,” it is not possible for Defendants to disclaim knowledge

 of the delayed contract at the time of the November 18, 2015 IPO.

        E.      Match Group’s November 2015 IPO

        103.    On October 16, 2015, Match Group filed a Registration Statement with the SEC on

 Form S-1 for an offering of up to $100 million in common stock. On November 2, 2015, the

 Company filed an Amended Form S-1 Registration Statement with the SEC on Form S-1/A, also

 for an offering of up to $100 million in common stock.

        104.    On November 9, 2015, the Company filed an Amended Form S-1 Registration

 Statement with the SEC on Form S-1/A, and on November 16, 2015, the Company filed another

 Amended Form S-1 Registration Statement with the SEC on Form S-1/A, both with proposed

 offerings of 38,333,333 shares of common stock for a proposed maximum aggregate offering price

 of approximately $537 million, or $14.00 per share. Finally, on November 18, 2015, the Company

 filed an Amended Form S-1 Registration Statement with the SEC on Form S-1/A, with an offering

 of 38,333,333 shares1 of common stock for a proposed aggregate maximum offering price of

 approximately $537 million, or a maximum price of $14.00 per share. The Registration Statement

 dated November 18, 2015 was declared effective after the market close on November 18, 2015.2



 1
    Match Group offered 33,333,333 shares of Class A common stock to the public, with an
 additional 5 million shares of Class A common stock offered to the underwriters should they
 exercise their option to purchase additional shares. The underwriters exercised this option, and a
 total of 38,333,333 shares of Class A common stock were offered.
 2
     As used herein, the term “Registration Statement” refers to, collectively, the registration
 statement that was filed by the Company with the SEC on Form S-1 on October 16, 2015, all


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        105.    On November 19, 2015, the IPO was priced at $12.00 per share. Together with the

 Prospectus filed with the SEC on Form 424B4 on November 20, 2015, the Registration Statement

 offered for sale 33,333,333 shares of Match Group Class A common stock to the public (and an

 additional 5,000,000 shares of Class A common stock to the underwriters) at $12.00 per share.

 Shares began trading on November 19, 2015, on the NASDAQ under the symbol “MTCH.”

        106.    On November 24, 2014, the Company announced that Match Group had closed its

 IPO of 38,333,333 shares of common stock at $12.00 per share, which included 5,000,000 shares

 of Class A common stock that were sold pursuant to the underwriters’ option to purchase. Upon

 the completion of the offering, IAC held 209,919,402 shares of Class B3 common stock, which

 represented 84.6% of all outstanding Match Group shares and 98.2% of the combined voting

 power. IAC also retained representation on Match Group’s Board of Directors (the “Board”), such

 that three of the eight Match Group Board positions were held by current IAC employees,

 including Levin (CEO of IAC), Winiarski (Executive Vice President, Secretary, and General

 Counsel of IAC), and Mark Stein (Senior Vice President and Chief Strategy Officer of IAC).

                1.      In the IPO, Match Group Unlawfully Failed to Provide Any Risk
                        Disclosures for Match Group’s Non-Dating Test Preparation Business
                        Segment

        107.    As noted, Match Group has two segments, Dating and Non-dating. The Company’s

 Non-dating segment consists of TPR.

        108.    FASB Accounting Standards Codification Topic 280, Segment Reporting (ASC

 280) states that the



 amendments thereto, and the Prospectus, which was incorporated into and formed a part of the
 Registration Statement that became effective on November 18, 2015.
 3
   Match Group Class A common stock has 1:1 voting power, while Class B common stock has
 10:1 voting power.


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        objective of requiring disclosures about segments of a public entity and related
        information is to provide information about the different types of business activities
        in which a public entity engages and the different economic environments in which
        it operates to help users of financial statements do all of the following:

        a. Better understand the public entity’s performance

        b. Better assess its prospects for future net cash flows

        c. Make more informed judgments about the public entity as a whole

 ASC 280-10-10-1.

        109.    Despite this, in contrast to the numerous risk disclosures in Match Group’s

 Registration Statement relating to its dating business (see, e.g., Registration Statement, pp. 16-20,

 discussing risks relating to the Company’s “dating brands and products,” the “dating industry,”

 “dating product monetiz[ation],” “[a]ttracting and retaining users for our dating products,”

 electronic communications with users “in the era of smart phones and messaging/social

 networking apps,” “[d]istribution and use of our dating products,” “distribution of our dating

 products through app stores,” technological overhauls in a number of platforms, “including Match,

 OurTime and Meetic,” there are no risk disclosures that relate directly to the Company’s Non-

 dating segment. Indeed, apart from general risks faced by any company providing online services,

 such as reliance on third party technology, cyber-attacks, security breaches, and identity theft (Id.

 at 20-22), only the following generalized risk disclosures could conceivably relate to risks

 associated with the Company’s Non-dating segment:

        Our quarterly results and operating metrics have fluctuated historically and we
        expect that they could continue to fluctuate in the future as a result of a number of
        factors, many of which are outside of our control and may be difficult to
        predict . . . .

                                           *      *       *

        In addition, the variability and unpredictability of our quarterly results or operating
        metrics could result in our failure to meet expectations, or those of any of our
        investors or of analysts that cover our company, with respect to revenues or other



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         operating results for a particular period. If we fail to meet or exceed such
         expectations for these or any other reasons, the market price of our common stock
         could fall substantially.

         110.    Even if the foregoing risk disclosures did relate to Match Group’s Non-dating

 segment, i.e. TPR, it is not sufficiently particularized or meaningful to inform investors of the risks

 and trends that the Company’s Non-dating segment was facing. Specifically, such generalized

 risk disclosures failed to inform investors of the risks posed by changes to the SAT, free test

 preparation materials provided by the Khan Academy, and/or the Company’s delayed government

 contract.

         111.    Similarly, while the Registration Statement contains an entire section devoted to,

 “Trends Affecting Our Dating Business,” (Registration Statement, pp. 63-66) there is no parallel

 section devoted to trends affecting the Company’s Non-dating segment. As discussed in more

 detail in the sections to follow, in violation of Items 303 and 503, there is little to no discussion of

 trends in the Company’s non-dating business in the Registration Statement at all.

                 2.       Defendants Boast About TPR’s Success in Advance of the IPO

         112.    Match Group reported in its Registration Statement that TPR had obtained

 profitability for the first time:

         Adjusted EBITDA is generally increasing sequentially and on a year on year basis,
         but is impacted by the aforementioned selling and marketing trends, which drive
         lower or sometimes negative, year on year Adjusted EBTIDA growth in the first
         quarter of the fiscal year. Increased investment in Non-dating driven by the
         acquisition of The Princeton Review also negatively impacted Adjusted EBITDA
         beginning with the three months ended September 30, 2014 through the second
         quarter of 2015. Non-dating reported positive Adjusted EBITDA for the first time
         in the third quarter of 2015, which is its seasonally strongest quarter.

 (emphasis added).

         113.    Match Group reiterated this positive outlook on TPR by stating in its Registration

 Statement, “The increase in deferred revenue is primarily due to growth in membership fees in the



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 Dating business, a seasonal increase in class enrollment in the Non-dating business and

 acquisitions.” (emphasis added).

        114.    Contrary to the above positive statements: (1) Defendants failed to disclose that an

 institutional contract would be executed more than two months late and that the changes to the

 SAT and introduction of the free Khan Academy materials would decrease, not increase, TPR’s

 sales; and (2) without a risk disclosure or statement of known trends to the contrary, investors were

 led to believe that TPR had turned a corner and was experiencing profitability for the first time.

        F.      Match Group Misses Revenue Forecast For The 2015 Fourth Quarter Due To
                Underperformance by TPR

        115.    For the fourth quarter of 2015, Match Group reported total revenue of $268 million,

 which fell short of the consensus estimate of $277 million. Also for the fourth quarter of 2015,

 Match Group reported: (a) Non-dating revenue of $26.1 million, which was below the Street’s

 estimate of $31.2 million; and (b) Dating revenue of $241.5 million, which was in line with the

 consensus estimate of $241.4 million.

        116.    In the Company’s prepared remarks, published on the evening of February 2, 2016,

 immediately before the fourth quarter 2015 conference call, Match Group disclosed, for the first

 time: “Non-Dating fell short of expectations on revenue in Q4 due primarily to a greater than

 anticipated slowdown in SAT prep due to the launch of a new SAT and the execution of an

 institutional contract later in Q4 than expected.” (emphasis added).

        117.    During the 2015 fourth quarter conference call held on February 3, 2016, Defendant

 Blatt responded to an analyst’s question and further disclosed:

        Nat Schindler, Bank of America Merrill Lynch: [C]an you go into a little more
        detail on the non-dating businesses? Specifically, what caused the falloff from your
        expectations . . . ?

        Defendant Blatt: . . . Two things, there are two very discreet things that happened
        this quarter, which is one, we are signing a contract with the U.S. government


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        and it signed 2 ½ months later than we thought. That cost us a couple million
        dollars of revenue, just moved it back and at the time we expected to get it done
        earlier and it didn’t.

        The other was, there was a big change in the SAT this year. It happens every 10
        years or so. We made a prediction about how test takers would – we thought some
        would rush to take the old test, more of them sort of paused to take the new test
        than we expected. Cost us revenue, doesn’t really cost us on the bottom line.

 (emphasis added).

        118.     Following the Company’s disclosures after-hours on February 2, 2016 and during

 the earnings call on February 3, 2016, numerous analysts reported that Match Group’s overall

 revenue fell short of expectations due to the fact that the Non-dating business segment had fallen

 short of forecasts for the 2015 fourth quarter. By and large, analysts agreed that the financial

 results of the Company’s Non-dating business segment were disappointing and drove the overall

 revenue miss.

        119.     For example, on February 3, 2016, J.P. Morgan reported that Match Group’s 2015

 fourth quarter revenue fell short of expectations ($268 million versus $276 million), with the

 “shortfall mostly coming from the Non-Dating business.” Indeed, Match Group’s Non-dating

 segment reported 2015 fourth quarter revenue of $26.1 million – below J.P. Morgan’s estimate of

 $30.4 million. J.P. Morgan explained that this shortfall was the result of: (1) “the release of a new

 version of the SAT[,] [which] impacted demand for prep services;” and (2) “a delay in the timing

 of a sizeable contract[,] [which] weighed on revenue relative to expectations.”

        120.     Similarly, on February 3, 2016, UBS reported that while they were positive on

 Match Group’s dating business segment, they were “less positive” on Match Group’s non-dating

 business segment, which had revenue “below expectations [for the 2015 fourth quarter] driven by

 lower demand for test prep (after SAT change) & contract delay.” In fact, UBS reported that

 Match Group’s overall revenue of $268 million missed the consensus estimate of $277 million,



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 and that this poor “[r]esult [was] driven mainly by lower than expected growth in Non-Dating

 revenue.” Additionally, UBS observed that the 2% year-over-year decline in Non-dating revenue

 was caused, at least in part, by a “delay in an institutional tutoring contract.”

        121.    Also on February 3, 2016, BMO Capital Markets reported that Match Group’s Non-

 dating revenue fell short of the Street’s estimate ($26.1 million versus $31.2 million) and that this

 shortfall was an “unexpected hiccup caused in part by changes to the SAT.”

        122.    Further, on February 4, 2016, Susquehanna Financial Group, LLP reported that

 Match Group’s “total revenue . . . missed us and consensus by ~16% due to a slowdown in SAT

 prep and a delay in signing a large client[.]”

        123.    Similarly, on February 4, 2016, Barclays reported that the Company’s “top-line

 miss was due to a shortfall in the non-Dating segment.” (emphasis added).

        124.    In sum, in the first quarterly results announced after the completion of the IPO,

 Match Group missed overall revenue estimates due to a shortfall in its Non-dating business. This

 shortfall was the result of the materialization of risks that Defendants failed to disclose regarding

 TPR, including risks surrounding changes to the SAT test and the proliferation of free SAT test

 preparation materials by the College Board and the Khan Academy, as well as the delayed

 execution of a multi-million dollar institutional contract in the very quarter that the IPO took place.

        125.    Following Match Group’s February 3, 2016 announcement of the revenue miss and

 the underperformance of its Non-dating business segment, shares of Match Group’s stock fell from

 a high of $12.82 per share on February 2, 2016, to close at $10.66 per share on February 3, 2016.

 The stock price continued to fall over the ensuing days as the market absorbed the news, ultimately

 closing at $9.30 per share on February 5, 2016.




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 V.      DISCLOSURE OBLIGATIONS UNDER THE SECURITIES ACT OF 1933

         126.    The purpose of the Securities Act is “to provide investors with full disclosure of

 material information concerning public offerings of securities in commerce, to protect investors

 against fraud, and, through the imposition of specified civil liabilities, to promote ethical standards

 of honesty and fair dealing.” Fed. Hous. Fin. Agency v. Nomura Holding Am., Inc., 104 F. Supp.

 3d 441, 553 (S.D.N.Y. 2015) (The Securities Act “was a slate of unprecedented measures designed

 ‘to place adequate and true information before the investor.’”) (citing Randall v. Loftsgaarden,

 478 U.S. 647, 659 (1986)); see also Pinter v. Dahl, 486 U.S. 622, 638 (1988).

         127.    To effectuate this purpose, a Company’s registration statement must provide a full

 disclosure of material information. See Herman & MacLean v. Huddleston, 459 U.S. 375, 381

 (1983). Failure to do so gives rise to private rights of action under the Securities Act. See Fed.

 Hous., 104 F. Supp. at 553-54. “The private rights of action in the Securities Act were designed

 to assure compliance with [its] disclosure provisions . . . by imposing a stringent standard of

 liability on the parties who play a direct role in a registered offering.” Id. (quotation omitted).

         A.      Section 11

         128.    Section 11 prohibits materially misleading statements or omissions in registration

 statements filed with the SEC. See 15 U.S.C. § 77k. Accordingly, Section 11 gives rise to liability

 if “any part of [a Company’s] registration statement, when such part became effective, contained

 an untrue statement of a material fact or omitted to state a material fact required to be stated therein

 or necessary to make the statements therein not misleading.” 15 U.S.C. § 77k(a). Section 11

 provides for a cause of action by the purchaser of a registered security against certain statutorily

 enumerated parties, including: (1) “every person who signed the registration statement;” (2)

 “every person who was a director . . . at the time of the filing of . . . the registration statement;” (3)

 “every person who, with his consent, is named in the registration as being or about to become a


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 director;” (4) “any person . . . who has with his consent been named as having prepared or certified

 any part of the registration statement;” and (5) “every underwriter with respect to such security.”

 15 U.S.C. § 77k(a)(1-5).

        B.      Regulation S-K

                1.      Item 303 Requirements

        129.    Item 303 imposes an affirmative duty on issuers to disclose “events” or

 “uncertainties” that will have a material or unfavorable impact on the registrant’s future revenue.

 17 C.F.R. § 229.303(a)(3)(i) & (ii); S.E.C. Release No. 6835, 1989 WL 1092885, at *4.

        130.    Specifically, Item 303 requires issuers to disclose in the registration statement any

 “trend, demand, commitment, event or uncertainty” that is “both presently known to management

 and reasonably likely to have material effects on the registrant’s financial condition or results of

 operations.” See Mgmt’s Discussion and Analysis of Fin. Condition and Results of Operation,

 Exchange Act Release No. 6835 (“S.E.C. Release No. 6835”), 1989 WL 1092885, at *4 (May 18,

 1989); 17 C.F.R. § 229.303(a)(3)(ii).

        131.    Pursuant to Item 303(a), for a fiscal year, a registrant has an affirmative duty to:

        (i) Describe any unusual or infrequent events or transactions or any significant
        economic changes that materially affected the amount of reported income from
        continuing operations and, in each case, indicate the extent to which the income
        was so affected.

        (ii) Describe any known trends or uncertainties that have had or that the registrant
        reasonably expects will have a material favorable or unfavorable impact on net
        sales or revenues or income from continuing operations. If the registrant knows of
        events that will cause a material change in the relationship between costs and
        revenues (such as known future increases in costs of labor or materials or price
        increases or inventory adjustments), the change in the relationship shall be
        disclosed.

 17 C.F.R. § 229.303(a)(3)(i)-(ii) (emphasis added); see also S.E.C. Release No. 6835, 1989 WL

 1092885, at *8 (May 18, 1989) (“Other non-recurring items should be discussed as unusual or



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 infrequent events or transactions that materially affected the amount of reported income from

 continuing operations.”) (citation and quotation omitted).

        132.    Thus, even a one-time event, if “reasonably expect[ed]” to have a material impact

 of results, must be disclosed. Examples of such required disclosures include: “[a] reduction in

 the registrant’s product prices; erosion in the ragistrant’s [sic] market share; changes in insurance

 coverage; or the likely non-renewal of a material contract.” S.E.C. Release No. 6835, 1989 WL

 1092885, at *4 (May 18, 1989).

        133.    Accordingly, as the SEC has repeatedly emphasized, the “specific provisions in

 Item 303 [as set forth above] require disclosure of forward-looking information.” See Mgmt’s

 Discussion and Analysis of Fin. Condition and Results of Operation, S.E.C. Release No. 6835,

 1989 WL 1092885, at *3 (May 18, 1989). Indeed, the SEC has stated that disclosure requirements

 under Item 303 are “intended to give the investor an opportunity to look at the company through

 the eyes of management by providing both a short and long-term analysis of the business of the

 company” and “a historical and prospective analysis of the registrant’s financial condition . . . with

 particular emphasis on the registrant’s prospects for the future.” Id. at *3, *17. Thus, “material

 forward-looking information regarding known material trends and uncertainties is required to be

 disclosed as part of the required discussion of those matters and the analysis of their effects.” See

 Comm’n Guidance Regarding Mgmt’s Discussion and Analysis of Fin. Condition and Results of

 Operations, S.E.C. Release No. 8350, 2003 WL 22996757, at *11 (December 19, 2003).

                2.      Item 503 Requirements

        134.    Item 503 is intended “to provide investors with a clear and concise summary of the

 material risks to an investment in the issuer’s securities.” Sec. Offering Reform, S.E.C. Release

 No. 8501, 2004 WL 2610458, at *86 (Nov. 3, 2004). Accordingly, Item 503 requires that offering




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 documents “provide under the caption ‘Risk Factors’ a discussion of the most significant factors

 that make the offering speculative or risky.” 17 CFR § 229.503(c). The discussion of risk factors:

        must be specific to the particular company and its operations, and should explain
        how the risk affects the company and/or the securities being offered. Generic or
        boilerplate discussions do not tell the investors how the risks may affect their
        investment.

 Statement of the Comm’n Regarding Disclosure of Year 2000 Issues and Consequences by Pub.

 Cos., Inv. Advisers, Inv. Cos., & Mun. Sec. Issuers, 1998 WL 425894, at *14 (July 29, 1998).

        135.    Put simply, Item 503 provides that a registration statement must disclose all known

 material risks that are “specific to the particular company and its operations.”             17 CFR

 § 229.503(c). Item 503(c) warns issuers: “Do not present risks that could apply to any issuer or

 any offering.” Id.

        C.      Defendants Violated Their Disclosure Obligations In The IPO Registration
                Statement

        136.    Defendants violated their disclosure obligations in Match Group’s IPO Registration

 Statement because they failed to disclose: (a) TPR’s transition from institutional contracts and

 long-term revenue growth to direct-to-student and online sales and margin expansion; (b) the risks

 posed by the introduction of the new SAT; (c) the risks posed by the College Board’s relationship

 with the Khan Academy, a direct competitor of TPR, including the free test preparation materials

 offered by the Khan Academy; and (d) the delayed institutional contract.

        137.    After Match Group acquired TPR in August 2014, and prior to its November 2015

 IPO, Match Group began to transition the focus of TPR from large multiyear contracts with

 institutional clients (i.e., low volume, high price) to online sales to individual students (i.e., high

 volume, low price) as part of its push to drive short-term margin expansion at the expense of long-

 term revenue growth. To effectuate this transition, TPR also shifted its focus from its previous

 core offerings of in-person training and in-classroom test-prep to online courses and webinars.


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 Despite this fundamental and systemic shift within TPR, Defendants failed to disclose in Match

 Group’s Registration Statement either the transition itself, or the risks posed by the transition,

 thereby violating Section 11 and Item 503. The failure to disclose TPR’s transition away from

 long-term revenue growth also violated Item 303 given that Match Group was actively engaged in

 a business strategy that it reasonably expected and, in fact, intended to have a material unfavorable

 impact on revenue.

        138.    Additionally, on March 5, 2014, the College Board announced its intention to

 redesign the SAT and to partner with the Khan Academy, a direct competitor of TPR, to provide

 free SAT test preparation to students. The Khan Academy SAT study materials went live in June

 2015, in time for students to use in preparation for the SAT exam administered in October 2015,

 and the new SAT was administered for the first time in March 2016. Although these two events,

 both the changes to the SAT and the introduction of free test preparation by the Khan Academy,

 presented significant risks to Match Group’s Non-dating business segment, Match Group failed to

 disclose in its Registration Statement either these changes, or the risks they posed, thereby

 violating Section 11 and Item 503. Match Group also failed to disclose that the change in the SAT

 test and the free test prep offered by Khan Academy would result in fewer students purchasing

 TPR’s SAT test prep materials in the future. This was material, forward-looking information

 regarding known trends and/or uncertainties, and Defendants’ failure to disclose it is a further

 violation of Item 303.

        139.    Defendants also failed to disclose that TPR sales were already decreasing in the

 fourth quarter of 2015 – i.e., a known trend – thereby violating Section 11 and Item 303.

        140.    Finally, Match Group failed to disclose that a large, institutional contract had been

 delayed at the time of the IPO. By November 18, 2015 – the effective date of the Registration




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 Statement – Match Group knew that the large, institutional contract would be executed late and

 this known event was likely to have a material unfavorable impact on revenue. Defendants’ failure

 to disclose this known event was a violation of Item 303. Defendants also violated Section 11 and

 Item 503 by omitting material information about the delayed contract and failing to disclose the

 risks associated with contract delays in Match Group’s Non-dating business segment.

 VI.    THE REGISTRATION STATEMENT CONTAINED MATERIALLY FALSE
        AND/OR MISLEADING STATEMENTS AND/OR OMITTED MATERIAL
        INFORMATION REQUIRED TO BE STATED THEREIN

        A.      Registration Statement and Prospectus

        141.    The Registration Statement issued in connection with the IPO contained materially

 false and/or misleading facts, omitted to state other facts necessary to make the statements made

 not misleading, and was otherwise not prepared in accordance with the governing rules and

 regulations.

        142.    The Registration Statement, in relevant part, stated:

        Adjusted EBITDA is generally increasing sequentially and on a year on year basis,
        but is impacted by the aforementioned selling and marketing trends, which drive
        lower or sometimes negative, year on year Adjusted EBTIDA growth in the first
        quarter of the fiscal year. Increased investment in Non-dating driven by the
        acquisition of The Princeton Review also negatively impacted Adjusted EBITDA
        beginning with the three months ended September 30, 2014 through the second
        quarter of 2015. Non-dating reported positive Adjusted EBITDA for the first time
        in the third quarter of 2015, which is its seasonally strongest quarter.

 Registration Statement (defined herein at ¶ 87 n.2, infra), p. 85 (emphasis added).

        143.    The Registration Statement reiterated this positive outlook on TPR by stating, “The

 increase in deferred revenue is primarily due to growth in membership fees in the Dating business,

 a seasonal increase in class enrollment in the Non-dating business and acquisitions.” Id. at 87

 (emphasis added).




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        144.    Further, the Registration Statement reported that for the nine months ended

 September 30, 2015, “Non-dating Adjusted EBITDA loss declined $4.8 million, or 45.8%,

 primarily due to reduced losses from The Princeton Review.” Id. at 72.

        145.    The above statements were false and misleading because they failed to state

 material facts necessary to make the statements, in light of the circumstances under which they

 were made, not misleading, because Defendants failed to disclose that TPR’s test prep sales were

 decreasing and Match Group’s overall Non-dating revenue was declining due to: (i) changes in

 the SAT; (ii) the College Board’s partnership with Khan Academy to provide free test prep;

 (iii) Match Group’s decision to shift focus from revenue growth to margin expansion, including

 its related decision not to renew lucrative large contracts, to reduce sales and marketing efforts and

 budgets and its decision to migrate traditional business to online; and (iv) the delayed large

 institutional contract which was executed late in the fourth quarter of 2015.

        146.    Defendants also violated Regulation S-K (Items 303 and 503) because the

 Registration Statement failed to disclose known events or uncertainties that were reasonably likely

 to unfavorably impact net sales, revenue, or income from continuing operations, and failed to

 include adequate risk disclosures relating to TPR’s declining test prep sales and Match Group’s

 overall decline in Non-dating revenue due to: (i) changes in the SAT; (ii) the College Board’s

 partnership with Khan Academy to provide free test prep; (iii) Match Group’s decision to shift

 focus from revenue growth to margin expansion, including its related decision not to renew

 lucrative large contracts, to reduce sales and marketing efforts and budgets, and to migrate

 traditional business to online; and (iv) the delayed large institutional contract which was executed

 late in the fourth quarter of 2015.




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        B.      Road Show Materials

        147.    The Road Show Materials4 issued in connection with the IPO contained materially

 false and/or misleading facts, omitted to state other facts necessary to make the statements made

 not misleading, and were otherwise not prepared in accordance with the governing rules and

 regulations.

        148.    Defendant Blatt, in the Road Show Materials, in relevant part, stated:

        [The Princeton Review] has been a minor drag on our P&L this past year as we
        consolidated our acquisitions in the area, and we have no expectation of this being
        a business that requires us to go negative in order to grow it into what we think
        it can be. You sleep on this one, but just like no one paid attention to
        HomeAdvisor or Vimeo at IAC a few years ago, and we told people it would be a
        real value contributor in a few years, we think The Princeton Review can be a
        real value-creation opportunity in a few years from now for Match Group.

 (emphasis added).

        149.    Defendant Swidler, in the Road Show Materials, in relevant part, stated:

        Our business, by its nature, has low capital requirements and there’s significant
        operating leverage in our business. This comes from operational efficiencies that
        we are in the process of achieving, plus improving performance at The Princeton
        Review and well as at Tinder as it continues on its trajectory.

        150.    The Roadshow Materials further reiterated the positive performance and outlook of

 TPR by labeling TPR as a “big business opportunity” and assuring potential investors that it was

 “Not expected to require investment going forward”:




 4
    As used herein, the term “Road Show Materials” refers to, collectively, Defendant Blatt and
 Defendant Swidler’s prepared remarks from November 2015, as well as Match Group’s slideshow
 from November 2015.


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        151.    The above statements were false and misleading because they failed to state

 material facts necessary to make the statements, in light of the circumstances under which they

 were made, not misleading; failed to disclose known trends or uncertainties that were reasonably

 likely to unfavorably impact net sales, revenue, or income from continuing operations; and failed

 to include adequate risk disclosures relating to: (i) decrease in sales due to changes in the SAT;

 (ii) decrease in sales due to the College Board’s partnership with Khan Academy to provide free

 test prep; and (iii) the Company’s decision to shift focus from revenue growth to margin expansion,

 including its related decision not to renew lucrative large contracts, reduction in sales and

 marketing efforts and budgets, and decision to migrate traditional business to online.

 VII.   NO SAFE HARBOR

        152.    Defendants are liable for any false and misleading forward-looking statements

 issued in connection with the IPO. The Safe Harbor provision of § 27A of the Securities Act, 15

 U.S.C. § 77z-2(b)(2)(D), specifically excludes those statements “made in connection with the


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 initial public offering,” which includes all of the false and misleading statements made in

 connection with the IPO.

 VIII. CLASS ACTION ALLEGATIONS

        153.    Plaintiffs bring this action as a class action pursuant to Federal Rule of Civil

 Procedure 23(a) and (b)(3) on behalf of a class consisting of all persons who purchased or

 otherwise acquired Match Group common stock pursuant and/or traceable to the Registration

 Statement issued in connection with the Company’s IPO on November 19, 2015 and who were

 damaged thereby (the “Class”). Excluded from the Class are Defendants herein, members of the

 immediate families of each Defendant, any person, firm, trust, corporation, officer, director, or

 other individual or entity in which any Defendant has a controlling interest or which is related to

 or affiliated with any Defendant, and the legal representatives, agents, affiliates, heirs, successors-

 in-interest or assigns of any such excluded party.

        154.    The members of the Class are so numerous that joinder of all members is

 impracticable. Match Group offered 38,333,333 shares of Class A common stock and 209,919,402

 shares of Class B common stock in the IPO and is actively traded on the NASDAQ. While the

 exact number of Class members are unknown to Plaintiffs at this time, Plaintiffs believe that there

 are thousands of members in the proposed Class. Record owners and other members of the Class

 may be identified from records maintained by Match Group or its transfer agent and may be

 notified of the pendency of this action by mail, using the form of notice similar to that customarily

 used in securities class actions.

        155.    Plaintiffs’ claims are typical of the claims of the members of the Class, as all

 members of the Class are similarly affected by Defendants’ wrongful conduct in violation of

 federal law that is complained of herein. Plaintiffs have no interests antagonistic to or in conflict

 with those of the Class.


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        156.    Plaintiffs will fairly and adequately protect the interests of the members of the Class

 and have retained counsel competent and experienced in class action and securities litigation.

        157.    Common questions of law and fact exist as to all members of the Class and

 predominate over any questions solely affecting individual members of the Class. Among the

 questions of law and fact common to the Class are:

                a)      whether Sections 11 and 15 of the Securities Act were violated by

 Defendants’ acts as alleged herein;

                b)      whether statements made by Defendants to the investing public in the

 Registration Statement issued by Match Group in connection with the IPO negligently omitted

 and/or misrepresented material facts about the business and prospects of Match Group; and

                c)      to what extent the members of the Class have sustained damages and the

 proper measure of damages.

        158.    A class action is superior to all other available methods for the fair and efficient

 adjudication of this controversy since joinder of all members is impracticable. Furthermore, as the

 damages suffered by individual Class members may be relatively small, the expense and burden

 of the individual litigation make it impossible for members of the Class to individually redress the

 wrongs done to them. There will be no difficulty in the management of this action as a class action.

 IX.    CLAIMS FOR RELIEF

        A.      COUNT I: For Violations of Section 11 of the Securities Act (Against All
                Defendants)

        159.    Plaintiffs repeat and reallege each and every allegation contained above. This

 Count is predicated upon Defendants’ strict liability for making false and materially misleading

 statements in the Registration Statement.




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        160.       This Count does not sound in fraud. Any preceding allegations of fraud, fraudulent

 conduct, or improper motive are specifically excluded from this Count. Plaintiffs do not allege for

 this Count that Defendants had scienter or fraudulent intent, which are not elements of this claim.

        161.       This Count is brought pursuant to Section 11 of the Securities Act, 15 U.S.C.§ 77k,

 on behalf of the Class, against all Defendants.

        162.       As discussed herein, the Registration Statement for the IPO was inaccurate and

 misleading, contained untrue statements of material facts, omitted to state other facts necessary to

 make the statements not misleading, and omitted to state material facts required to be stated

 therein.

        163.       Match Group is the registrant for the IPO.          The Individual Defendants are

 responsible for the contents of the Registration Statement based upon their status as directors of

 the Company or because they signed or authorized the signing of the Registration Statement on

 their behalf pursuant to Section 11(a)(1-3) of the Securities Act. The Underwriter Defendants are

 responsible for the contents of the Registration Statement pursuant to Section 11(a)(5) of the

 Securities Act.

        164.       As issuer of the shares, Match Group is strictly liable to Plaintiffs and the Class for

 any misstatements and omissions. The Individual Defendants named herein made a reasonable

 investigation or possessed reasonable grounds for the belief that the statements contained in the

 Registration Statement were true and without omissions of any material facts and were not

 misleading.

        165.       By reason of the conduct alleged herein, each Defendant violated, and/or controlled

 a person who violated, Section 11 of the Securities Act.




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        166.      Plaintiffs acquired Match Group common stock pursuant and/or traceable to the

 Registration Statement for the IPO.

        167.      Plaintiffs and the Class have sustained damages. The value of Match Group’s

 common stock has declined substantially subsequent to and due to Defendants’ violations.

        168.      At the time of their purchases of Match Group securities, Plaintiffs and the Class

 were without knowledge of the facts concerning the wrongful conduct alleged herein and could

 not have reasonably discovered those facts. Less than one year has elapsed from the time that

 Plaintiffs discovered or reasonably could have discovered the facts upon which this complaint is

 based to the time that Plaintiffs filed this complaint. Less than three years has elapsed between

 the time that the securities upon which this Count is brought were offered to the public and the

 time Plaintiffs filed this complaint.

        B.        COUNT II: For Violations of Section 15 of the Securities Act (Against the
                  Individual Defendants)

        169.      Plaintiffs repeat and reallege each and every allegation contained above.

        170.      This Count does not sound in fraud.        Any proceeding allegations of fraud,

 fraudulent conduct, or improper motive are specifically excluded from this Count. Plaintiffs do

 not allege for this Count that Defendants had scienter or fraudulent intent, which are not elements

 of this claim.

        171.      This Count is brought pursuant to Section 15 of the Securities Act against the

 Individual Defendants.

        172.      Each of the Individual Defendants acted as controlling persons of Match Group

 within the meaning of Section 15 of the Securities Act by virtue of his position as a director and/or

 senior officer of Match Group.          By reason of their senior management positions and/or

 directorships at the Company, as alleged above, the Individual Defendants, individually and acting



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 pursuant to a common plan, had the power to influence and exercised the same to cause Match

 Group to engage in the conduct complained of herein. Further, the Individual Defendants’

 positions made them privy to and provided them with actual knowledge of the material facts

 concealed from Plaintiffs and the Class. By reason of such conduct, the Individual Defendants are

 liable pursuant to Section 15 of the Securities Act.

           173.   Each of the Individual Defendants was a culpable participant in the violations of

 Section 11 of the Securities Act alleged in Count I above, based on their having signed the IPO

 Registration Statement and having otherwise participated in the process which allowed the IPO to

 be successfully completed.

           174.   By virtue of the conduct alleged herein, the Individual Defendants are liable for the

 aforesaid wrongful conduct and are liable to Plaintiffs and the Class for damages suffered.

 X.        PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

           A.     Determining that the instant action may be maintained as a class action under Rule

 23 of the Federal Rules of Civil Procedure;

           B.     Awarding compensatory damages in favor of Plaintiffs and the other Class

 members against all Defendants, jointly and severally, for all damages sustained as a result of

 Defendants’ wrongdoing, in an amount to be proven at trial, including interest thereon;

           C.     Awarding Plaintiffs the costs and expenses of this litigation, including reasonable

 attorneys’ fees, accountants’ fees, experts’ fees, and other costs and disbursements; and

           D.     Awarding such equitable, injunctive, or other relief as this Court may deem just and

 proper.

 XI.       JURY TRIAL DEMAND

           Plaintiffs hereby demand a trial by jury.


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 DATED: October 30, 2017         KENDALL LAW GROUP, PLLC



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                               CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been served

 upon counsel of record through the Court’s ECF system on October 30, 2017.


                                                /s/ Joe Kendall
                                                Joe Kendall




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